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                                                                                 2021 Jan-26 AM 11:12
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

DAISY HASTY,                              )
                                          )
                 Plaintiff,               )
                                          )
v.                                        ) Case No. 2:19-cv-01456-SGC
FULTONDALE ON TAP, INC.,                  )
et al.,                                   )
                                          )
                 Defendants.              )

         JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT

         COME NOW the Plaintiff, Daisy Hasty (“Plaintiff”), and the Defendants,

Fultondale On Tap, Inc., On Tap Summit, LLC, Elaine Beegle, and Todd Beegle

(collectively, “Defendants”), and jointly move for the Court to approve the Parties’

Settlement Agreement, which resolves this matter without compromise as to the

amount Plaintiff claims under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

(“FLSA”), despite the fact that Defendants dispute and deny liability for the same.

Counsel for Defendants has Plaintiff’s counsel’s expressed consent to file this Joint

Motion with his electronic signature.

         In support of this Motion, the Parties state as follows:

         1.      Plaintiff initiated this action against Defendants, alleging that

Defendants unlawfully failed to pay her appropriate minimum wages and overtime

compensation for work in violation of the FLSA.

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         2.      Plaintiff believes that the cause of action, allegations, and contentions

asserted in this action have merit and that the evidence developed to date supports

the cause of action asserted. Defendants deny Plaintiff’s allegations. As such, this

is a highly disputed claim. However, the Parties recognize and acknowledge that

the expense in time and money of litigation, the uncertainty and risk of litigation, as

well as the difficulties and delays inherent in such litigation, make settlement of this

matter a mutually appealing resolution.

         3.      Accordingly, the Parties have reached a Settlement Agreement to

resolve the Plaintiff’s claims for back wages. The Agreement is attached hereto as

Exhibit A.        Pursuant to applicable Eleventh Circuit precedent, this Court is

empowered to review and approve the provisions of such settlement agreements in

actions brought for back wages under the FLSA. See Lynn Food Stores v. United

States, 679 F.2d 1350 (11th Cir. 1982). Because the Parties have agreed that the

terms reflected in this Agreement are mutually satisfactory and the monetary relief

for an otherwise bona fide dispute exceeds any payment due under the applicable

two year statute of limitations, including liquidated damages payment for an

otherwise bona fide dispute, the Parties respectfully request that the Court approve

the Settlement Agreement.

         4.      In support of this joint request that the Court approve the Parties’

Settlement Agreement, Plaintiff submits that she is satisfied that she will be


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reasonably compensated under the terms of the Settlement Agreement for the alleged

unpaid back wages to which she claims to be entitled during the two year period

preceding the filing of his lawsuit.

         5.      During the two-year liability period, Plaintiff claims that she is entitled

to compensation at a rate of $7.25 per hour for all the time she was engaged in

serving duties while participating in a tip pool and overtime compensation, not

barred by the applicable statute of limitations. Defendants strongly dispute this

assertion and deny that that the tip pool was invalid. Defendants contend that the

statute of limitations bars some or all of Plaintiff’s claims. Defendants contend that

any violation was made in good faith.

         6.      The Plaintiff’s recovery under the Agreement represents 100% of the

total actual unpaid wages she could have obtained at trial, including liquidated

damages. See Ex. A, Settlement Agreement. As such, under any standard of review

or scrutiny, the Settlement Agreement entered into by the parties is a fair and

reasonable resolution of the Plaintiff’s claims for unpaid minimum wages.

         7.      The Settlement Agreement is the culmination of extensive negotiations

between the Parties to resolve this matter. The settlement figures agreed to by the

Parties bear a reasonable and fair relationship to the amount due to Plaintiff and also

take into consideration the inevitable risks of litigation and defenses raised by

Defendants. The Parties entered into this settlement in recognition of those risks


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inherent in any litigation – specifically, for Plaintiff, the risk of no recovery, and for

the Defendants, the risk of a verdict against them on the merits. Because of these

risks, the Settlement Agreement, which provides for significant compensation to

Plaintiff, as well as a payment of attorneys' fees and costs to her counsel for

prosecuting this matter, at minimum represents a fair and reasonable compromise of

this matter.

         8.      In addition, the attorneys’ fees and costs called for under the Settlement

Agreement are fair and reasonable. See Ex. A, Settlement Agreement. Plaintiff’s

counsel expended extensive time studying Defendants’ voluminous records, as well

as time negotiating with Defendants and preparing damages calculations. See

Exhibit B, Declaration of Jody Forester Jackson. Defendants agree Plaintiff’s

attorneys’ hours and rates are reasonable and to pay these amounts in light of the

costs, work performed, hours spent, likely hourly rates awardable, and in an effort

to expedite payment to Plaintiff and to avoid costs and delay associated with

continued litigation and fee petition.

         9.      The attorneys’ fees and costs do not compromise or reduce the

Plaintiff’s recovery. The fees and costs were determined separate and apart from the

Plaintiff’s settlement amounts, and only after those amounts were accepted by the

Plaintiff.      As such, the Court should approve the settlement without separately

considering the reasonableness of the fee to be paid to Plaintiff’s counsel, except in


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circumstances where the “settlement does not appear reasonable on its face or there

is reason to believe that the Plaintiff’s recovery was adversely affected by the amount

of fees paid to his attorney.” Smitherman v. Chow Lao Liew, LLC, 2016 WL 950359

at *2 (N.D. Ala. Mar. 14, 2016). See also Crabtree v. Volkert, 2013 WL 593500, at

*7 (S.D. Ala. Feb. 14, 2013). Such deference is warranted because “‘the Court is

generally not in as good a position as the parties to determine the reasonableness of

an FLSA settlement’ and ‘[i]f the parties are represented by competent counsel in an

adversary context, the settlement they reach will, almost by definition, be

reasonable.’” Gross v. Statewide Healthcare Servs., 2016 WL 8454094, at *2 (S.D.

Ala. May 10, 2016) (quoting Bonetti v. Embarq Mgmt. Co., 715 F. Supp. 2d 1222,

1227 (M.D. Fla. 2009)).

         10.     Both parties here are represented by experienced counsel who were able

to adequately represent their clients’ respective positions during settlement

discussions. The settlement discussions took place after an exchange of relevant

documents including pay and time records, which allowed counsel the ability to

evaluate the claims and defenses presented and their impact on this litigation. The

Court should approve the parties Settlement Agreement even if it considers the fees

and cost paid to Plaintiff’s counsel because the hours expended and rates requested

are fair and reasonable based on Plaintiff’s counsel’s background, experience, and

previously awarded rates. See Exhibit B.


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         11.     Finally, upon approval of this motion and the entering of a stipulated

judgment, the parties request this Court dismiss this action with prejudice.

         WHEREFORE, the Parties respectfully request that the Court enter an Order

granting this Joint Motion for Approval of Settlement Agreement and dismissing

this action with prejudice.

         Respectfully submitted this the 26th day of January 2021.

                                          s/Breanna H. Young
                                          Breanna H. Young
                                          STARNES DAVIS FLORIE LLP
                                          100 Brookwood Place, Seventh Floor
                                          Birmingham, Alabama 35209
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                                          Attorney for the Defendants


                                          s/Mary B. Jackson*
                                          Jody F. Jackson
                                          Mary B. Jackson
                                          JACKSON & JACKSON
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                                          mjackson@jackson-law.net

                                          Attorneys for the Plaintiff

                                          * Signed with express permission




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        EXHIBIT A:
  SETTLEMENT AGREEMENT
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         EXHIBIT B:
      DECLARATION OF
   JODY FORESTER JACKSON
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                    U N I T E D S TAT E S D I S T R I C T C O U R T
               FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN          DIVISION



DAISY HASTY, individually and on
                                                 CIVIL ACTION NO.: 2:I9-cv-01456-
behalf of all others similarly situated
                                                 SGC
       Plaintiffs,

       v s .




FULTONDALE ON TAP, INC.; ON
                                                 JURY      TRIAL     DEMANDED
TA P S U M M I T, L L C ; E L A I N E
BEEGLE; AND TODD BEEGLE,

       Defendant.



      D E C L A R AT I O N I N S U P P O R T O F M O T I O N T O A P P R O V E
                                   S E T T L E M E N T




                 D E C L A R AT I O N O F J O D Y F O R E S T E R J A C K S O N


   I, Jody Forester Jackson, hereby declare:



1. My name is Jody Forester Jackson

2. Iam an attorney for the plaintiff in this action.

3. Iwas admitted to the practice of law in the State of Louisiana in 2004. I

   was admitted to the practice of law in the State of Alabama in 2008.

4. Ihave practiced in the area of employment for the last 17 years. Although

   Ihave experience handling other types of civil litigation, including in the
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   field of employment law, one of the main focuses of my practice is FLSA

   litigation.

5. Ihave represented both employees and employers in FLSA matters.

6. Attorneys and other timekeepers in my office use acase management and

   billing system to make contemporaneous records of their work on various

   matters. Invoices are generated using the case management and billing

   systems and thus consists of contemporaneously recorded time spent on

   this particular matter.

7. To the best of my knowledge, information and belief, this statement

   contains an accurate description of the services rendered by my firm, the

   amount of time devoted to this case and the expenses incurred in pursuit

   of same.


8. It is my professional judgment that all of the time expended by me or other

   members of my firm was necessary and reasonable. My work on this case

   included originating the case, conducting client interviews, researching

   and evaluating the important factual and legal issues in this case and

   reviewing pleadings, documents, and discovery.

9. My partner is Mary Bubbett Jackson. She was admitted to practice law in

   the State of Louisiana in 2004 and is was admitted to practice in the State

   of Florida in 2018.




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 lO.Ms.Jacksonhasbeenengagedinthepracticeoflawfor17years.Shehas
     practicedintheareaofemploymentforthelast12years.Althoughshe
     hasexperiencehandlingothertypesofcivillitigation,includinginthefield
     of employment law, one of the main focuses of her practice is FLSA
    litigation.

 11.Ms.JacksonhasrepresentedbothemployeesandemployersinFLSA
    matters.




 12.Ms.Jacksonspenthertimeonthismatterresearchingfactualandlegal
    mattersandpreparingvariouspleadingsanddiscoveryresponses.
13.Therearenootherattorneysemployedbymyfirm.

14.Itismyjudgmentthatthisdivisionoflaborisconsistentwithcustomary
   practiceandisthemosteconomicalfashionpossibletolitigatethismatter
   consistentwithourresponsibilitytocompetentlyandvigorouslyrepresent
   t h e P l a i n t i ff s .



15.Myfirmshourlyrateis$350perhourandwehavepreviouslyhad
   applicationsforfeesinFLSAcasesapprovedatthisratebyotherCourts.
16.The total number of hours my firm has expended on this matter is 58.1.

17.The total attorneys’ fees in this matter are $20,335.00.

18.The total costs incurred in this matter are $611.10.
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19.Thus, the total fees and costs in this matter are $20,946.10. In an effort to

   resolve this matter, my firm has agreed to reduce our fees and costs to

   $14,000.00.

20.1 believe this reduction reflects areasonable amount for attorneys’ fees and

   costs.



21. Acopy of my firm’s invoices can be provided to the Court for in camera

   review upon request.

   Ideclare under penalty of perjury under the laws of the United States that

the foregoing is true and correct and is based upon my personal knowledge.

             Executedthis15*dayofJanuary/^fi               insacola, Florida.

                                                  ■e>

                                       Jody/^res^ Jackson




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